Form fnldec (Revised 08/01/2018)


                                     United States Bankruptcy Court − District of Kansas
                                              161 Robert J. Dole US Courthouse
                                                      500 State Avenue
                                                    Kansas City, KS 66101

Case Number: 19−22358                                         Chapter: 11

In re:
Vita Craft Corporation
11100 W. 58th Street
Shawnee, KS 66203

EIN: 48−0756448
                                                                                               Filed And Entered By
                                                                                                     The Court
                                                      FINAL DECREE                                   3/23/23
                                                                                                 David D. Zimmerman
                                                                                                    Clerk of Court
                                                                                                 US Bankruptcy Court


The estate of the above named debtor(s) has been fully administered.
IT IS ORDERED THAT:
1. This chapter 11 case is closed.




Document 283                                                  s/ Robert D. Berger
                                                              United States Bankruptcy Judge




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